 Case 4:20-cv-00283-O Document 114 Filed 03/30/23                   Page 1 of 2 PageID 2218



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 BRAIDWOOD MANAGEMENT                           §
 INC., et al.,                                  §
                                                §
         Plaintiffs,                            §
                                                §
 v.                                             §       Civil Action No. 4:20-cv-00283-O
                                                §
 XAVIER BECERRA, et al.,                        §
                                                §
                Defendants.                     §

                                     FINAL JUDGMENT

       This Judgment is issued pursuant to Fed. R. Civ. P. 58(a).

       This action came on for consideration by the Court, and the issues having been duly

considered and a decision duly rendered in the Court’s orders partially granting and partially

denying the parties’ motions for summary judgment.

       It is therefore ORDERED, ADJUDGED, and DECREED that:

   1) All claims of Joel Miller and Gregory Scheideman in the above-entitled and
      numbered cause are hereby DISMISSED without prejudice for lack of subject
      matter jurisdiction.

   2) The Advisory Committee on Immunization Practices (ACIP) and the Health
      Resources and Services Administration (HRSA) do not, on the record in this case,
      violate Article II’s Appointments clause. Therefore, Braidwood Management Inc.,
      Kelley Orthodontics, John Kelley, Joel Starnes, Zach Maxwell, and Ashley
      Maxwell’s (remaining Plaintiffs) Claim No. 1 as it pertains to ACIP and HRSA is
      DISMISSED with prejudice to the re-filing of same or any part thereof.

   3) The U.S. Preventive Services Task Force’s (PSTF) recommendations operating in
      conjunction with 42 U.S.C. § 300gg-13(a)(1) violate Article II’s Appointments
      Clause and are therefore unlawful. Therefore, any and all agency actions taken to
      implement or enforce the preventive care coverage requirements in response to an
      “A” or “B” recommendation by the PSTF on or after March 23, 2010 are
      VACATED and Defendants and their officers, agents, servants, and employees are
      ENJOINED from implementing or enforcing 42 U.S.C. § 300gg-13(a)(1)’s
Case 4:20-cv-00283-O Document 114 Filed 03/30/23               Page 2 of 2 PageID 2219



    compulsory coverage requirements in response to an “A” or “B” rating from PSTF
    in the future.

    Further, any and all agency action taken to implement or enforce the preventive
    care mandates in response to an “A” or “B” recommendation by PSTF on or after
    March 23, 2010 and made compulsory under 42 U.S.C. § 300gg-13(a)(1) are
    DECLARED unlawful as violative of the Appointments Clause. Therefore,
    Braidwood Management Inc. and Kelley Orthodontics, and to the extent applicable,
    individual Plaintiffs need not comply with the preventive care coverage
    recommendations of PSTF issued on or after March 23, 2010, because the members
    of the Task Force have not been appointed in a manner consistent with Article II’s
    Appointments Clause. Accordingly, the Court ENJOINS Defendants and their
    officers, agents, servants, and employees from implementing or enforcing the same
    against these Plaintiffs.

 4) 42 U.S.C. § 300gg-13(a)(1)–(a)(4) do not violate the nondelegation doctrine.
    Therefore, remaining Plaintiffs’ Claim No. 2 is DISMISSED with prejudice to
    the re-filing of same or any part thereof.

 5) The operation of 42 U.S.C. § 300gg-13(a)(1) does not violate Article II’s Vesting
    Clause. Therefore, remaining Plaintiffs’ Claim No. 3 is DISMISSED with
    prejudice to the re-filing of same or any part thereof.

 6) Remaining Plaintiffs’ Claim No. 4 is DISMISSED with prejudice to the re-filing
    of same or any part thereof for failure to state a claim upon which relief may be
    granted.

 7) The PrEP mandate violates remaining Plaintiffs’ rights under the Religious
    Freedom Restoration Act and is therefore DECLARED unlawful. As such,
    remaining Plaintiffs need not comply with the preventive care coverage
    recommendations of PSTF issued on or after March 23, 2010 and the Court
    ENJOINS Defendants and their officers, agents, servants, and employees from
    implementing or enforcing the PrEP mandate as against these Plaintiffs.

 8) All costs shall be paid by the party incurring the same.

 9) All relief not expressly granted herein is denied.

    The Clerk of Court is DIRECTED to close the above-captioned case.

    SO ORDERED on this 30th day of March, 2023.

                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE



                                              2
